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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND




SARAH SANDOVAL,

               Plaintiff,

V.                                                           Civil No. PJM17-1599

THE CENTER FOR INNOVATIVE
GYN CARE,PC

and


NATALYA DANILYANTS,

               Defendants.


                               FINAL ORDER OF JUDGMENT


       This action was tried by a jury with the Hon. Peter J. Messitte presiding, and the jury

rendered a verdict in favor ofthe Plaintiff, Sarah Sandoval, against the Defendants, The Center for

Innovative GYN Care, P.C., and Natalya Danilyants, M.D.

       The Court has ordered that the Plaintiff, Sarah Sandoval,recover from the Defendants, The

Center for Innovative GYN Care, P.C., and Natalya Danilyants, M.D., the sum of One Million

Five Hundred Thousand Dollars ($1,500,000.00), plus post-judgment interest at the federal

statutory rate and costs running from July 26.2021. which is the date ofthe jury's verdict.




SO ORDERED this             day of August 2021




                                                                   /s/
                                                         PETER J. MESSITTE
                                              UNIT          ATES DISTRICT JUDGE
